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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

SHIRLEY CAVALIER                                *
                                                *
                      PLAINTIFF                 *
VS.                                             *    CIVIL ACTION NO. 17-260-SDD-EWD
                                                *
                                                *
CARRINGTON MORTGAGE SERVICES,                   *
LLC, ET AL                                      *
              DEFENDANTS                        *

                NOTICE OF SETTLEMENT FOR DEFENDANTS
      CARRINGTON MORTGAGE SERVICES, LLC AND BANK OF AMERICA, N.A.

        NOW INTO COURT, through undersigned counsel, comes Shirley Cavalier, plaintiff herein,

who notifies the court that she has settled her claims against defendants Carrington Mortgage

Services, LLC and Bank of America, N.A, and requests the court enter a conditional dismissal of her

claims against those defendants. There are no remaining defendants.

                                                     s/Garth J. Ridge
                                                     GARTH J. RIDGE
                                                     Bar Roll Number: 20589
                                                     Attorney for Plaintiff
                                                     251 Florida Street, Suite 301
                                                     Baton Rouge, Louisiana 70801
                                                     Telephone Number: (225) 343-0700
                                                     Facsimile Number: (225) 343-7700
                                                     E-mail: GarthRidge@aol.com

                                  CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on the 3rd day of April, 2018, I electronically filed the foregoing
with the Clerk of court by using the CM/ECF system which will send a notice of electronic filing to
all counsel of record.


                                                     s/Garth J. Ridge
                                                     GARTH J. RIDGE
                                                     Bar Roll Number: 20589
                                                     Attorney for Plaintiff
                                                     251 Florida Street, Suite 301
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